Case 2:18-cv-02043-TLP-dkv Document 17 Filed 04/09/18 Page 1 of 4                     PageID 56



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  PEARL L. KELLY                                 )
                                                 )
         Plaintiff,                              )
                                                 )
  v.                                             )          No. 2:18-cv-02043-TLP-dkv
                                                 )
  COLLIERVILLE385MOTORS, LLC, d/b/a              )          JURY DEMAND
  COLLIERVILLE CHRYSLER DODGE                    )
  JEEP RAM,                                      )
                                                 )
         Defendant.                              )
                                                 )


                                  SCHEDULING ORDER


       This cause was before the Court on April 6, 2018 for a Scheduling Conference pursuant

to Rule 16 of the Federal Rules of Civil Procedure and Local Rules 16.1 and 16.2. Present were

Tressa V. Johnson and Kristy L. Bennett, counsel for Plaintiff, and Gabriel P. McGaha, counsel

for Defendant. Prior to the scheduling conference, on March 16, 2018 and March 29, 2018, the

parties met and conferred in compliance with Federal Rule of Civil Procedure 26(f).

       The following dates are established as the final deadlines for:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): April 13, 2018

MOTIONS TO JOIN PARTIES: June 15, 2018

MOTIONS TO AMEND PLEADINGS: June 15, 2018

MOTIONS TO DISMISS: July 16, 2018

ALTERNATIVE DISPUTE RESOLUTION:

(a) ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a): August 15, 2018
Case 2:18-cv-02043-TLP-dkv Document 17 Filed 04/09/18 Page 2 of 4                      PageID 57



(b) SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c):

Mediator's Name: _Frank Cantrell_____________________

COMPLETING ALL DISCOVERY: October 22, 2018

   (a) WRITTEN DISCOVERY: September 14, 2018, except that the Parties agree that any
       document or other tangible item which may be identified for the first time during any
       deposition may be requested through Requests for Production of Documents and Things
       after this date within a reasonable time frame following the deposition.

(b) DEPOSITIONS: October 22, 2018

EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

   (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF PROOF)
       RULE 26(a)(2) EXPERT INFORMATION: August 22, 2018

   (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE 26(a)(2)
       EXPERT INFORMATION: September 14, 2018

(c) EXPERT WITNESS DEPOSITIONS: October 22, 2018

MOTIONS TO EXCLUDE UNDER F.R.E. 702/DAUBERT MOTIONS: November 30,
2018

SUPPLEMENTATION UNDER RULE 26(e)(1): October 22, 2018

FILING DISPOSITIVE MOTIONS: November 30, 2018

JOINT PROPOSED PRETRIAL ORDER DUE: February 22, 2019 by close of business.
(E-Mail Joint Proposed Pretrial Order in Word format to:
ECF_Judge_Parker@tnwd.uscourts.gov)

PRETRIAL CONFERENCE DATE: March 1, 2019 at 9:00 a.m.

JURY TRIAL: March 27, 2019 at 9:30 a.m. Trial is anticipated to last approximately 3
days.

OTHER RELEVANT MATTERS:

       As required by Local Rule 26.1(e), the parties have conferred as to whether they will
seek discovery of electronically stored information (“e-discovery”) and other than potential e-
mail and text message communications, at this time the parties do not anticipate there being any
discovery conducted regarding ESI in this litigation. To identify and preserve any potential ESI,
Counsel for Plaintiff will alert and Counsel for Defendant has alerted their clients to ensure


                                               2
Case 2:18-cv-02043-TLP-dkv Document 17 Filed 04/09/18 Page 3 of 4                           PageID 58



proper protections are in place to prevent deletion of documents potentially relevant to this
litigation, to notify those persons in relevant positions to refrain from destroying ESI that may
be relevant to the claims in this litigation, and to ensure no inadvertent deletion of ESI occurs.
For any relevant e-mail communications, the parties will produce such communication via hard
copy. The parties do not expect to perform any forensic searches on computer hard drives. The
parties are not aware of any discoverable deleted ESI. The parties do not anticipate requesting
any discoverable ESI with embedded data and/or metadata. For any ESI discovered during the
course of this litigation, however, the parties have agreed to produce paper copies of any
electronically stored documents that are produced in response to document requests. The parties
are not aware of any discoverable ESI that is not reasonably accessible at this time. In the event
any privileged information is inadvertently disclosed via any ESI, the parties agree that the
privilege is not waived.

        Pursuant to agreement of the parties, if privileged or protected information is
inadvertently produced, the producing party may, by timely notice, assert the privilege or
protection and obtain the return of the materials without waiver.

        Motions to compel discovery are to be filed and served within 45 days of the default or
service of the response, answer, or objection that is the subject of the motion. However, if such
default or service occurs within 30 days before the discovery deadline, the motion to compel
must be filed within 30 days after such default or service.

        The parties are ordered to engage in ADR before the ADR deadline. Pursuant to Local
Rule 16.2(d), within 7 days of completion of ADR, the parties shall file a notice confirming that
the ADR was conducted and indicating whether it was successful or unsuccessful, without
disclosing the parties’ respective positions at the ADR.

       Pursuant to Local Rule 7.2(a)(1)(A), all motions, except motions pursuant to Fed. R.
Civ. P. 12, 56, 59, and 60, shall be accompanied by a proposed order in a word processing
format sent to the ECF mailbox of the presiding judge.

      Pursuant to Local Rule 7.2(a)(1)(B), the parties are required to consult prior to filing
any motion (except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60).

        The opposing party must file a response to any opposed motion. Pursuant to Local Rule
7.2(a)(2), a party’s failure to respond timely to any motion, other than one requesting dismissal
of a claim or action, may be deemed good grounds for granting the motion.

         Neither party may file an additional reply to any motion, other than a motion filed
pursuant to Fed. R. Civ. P. 12(b) or 56, without leave of the court. Pursuant to Local Rule
7.2(c), if a party believes that a reply is necessary, it shall file a motion for leave to file a reply
within 7 days of service of the response, setting forth the reasons why a reply is required.

        The parties do not consent to trial before the Magistrate Judge.

        This order has been entered after consultation with the parties. Absent good cause

                                                  3
Case 2:18-cv-02043-TLP-dkv Document 17 Filed 04/09/18 Page 4 of 4          PageID 59



shown, the deadlines set by this order will not be modified or extended.


       SO ORDERED, this 9th day of April, 2018.

                                             s/ Thomas L. Parker
                                            THOMAS L. PARKER
                                            UNITED STATES DISTRICT JUDGE




                                              4
